                                                                                                              Nd ¥S:70 - 2202 ‘80 Yoel - Asue] - paji4 Ajjesiuonos|3
                                                                                          2246-CC00053
                                                                                                EXHIBIT
                                                                                                EXHIBIT A
                                                                                                        A
                          IN THE CIRCUIT COURT OF TANEY COUNTY
                                         STATE    OF MISSOURI

CYNTHIA WILSON,                                               )
                                                              )
                     Plaintiff,                               )        Cause No.:
Vv.                                                           )
                                                              )        Div:
CRACKER BARREL                OLD COUNTRY                     )
STORE, INC.                                                   )
                                                              )        JURY TRIAL DEMANDED
        Serve: CT Corporation System                          )
               120 South Central Ave.                         )
                     Clayton, MO 63105                        )
                                                              )
                     Defendant.                               )

                                                 PETITION

        COMES NOW Plaintiff Cynthia Wilson, by and through her undersigned counsel,

and states the following for her Petition against Defendant Cracker Barrel Old Country

Store, Inc.:

                         ALLEGATIONS APPLICABLE TO ALL COUNTS

        1.           Plaintiff Cynthia   Wilson      is a citizen      and    resident   of Taney   County,

Missouri.

        2.           Cracker Barrel Old Country Store, Inc., is a Tennessee corporation in good

standing and is licensed and registered to do business in the State of Missouri, with its

principal place of business located at 305 Hartmann Drive, Lebanon, Tennessee 37087.

Defendant’s registered agent is CT Corporation System, which can be served at 120

South Central Ave., Clayton, Missouri 63105.

        3.           Defendant Cracker Barrel owns and operates a store located at 3765 State

Highway        76,    Branson     Missouri   65616     (the       “Branson    Restaurant”).   The   Branson

Restaurant is the location where the negligence described in this Petition occurred. At




             Case 6:22-cv-03151-LMC Document 1-1 Filed 06/08/22 Page 1 of 5
                                                                                                           Nd ¥S:70 - 2202 ‘80 Yoel - Asue] - paji4 Ajjesiuonos|3
all times relevant to this Petition, Defendant Cracker Barrel maintained and controlled

the Branson Restaurant.

       4.        On or about August 28, 2020, Plaintiff Cynthia Wilson was an invitee to

the Branson Restaurant. Ms. Wilson is restricted to a motorized wheelchair. She entered

through the front door of the Cracker Barrel. When the door closed behind her, it swung

shut and closed on Ms. Wilson’s left hand, causing injury.

       5.        The door had recently been replaced prior to August 28, 2020, and its

closing speed had not been adjusted following its installation.

       6.        Venue is proper in this Court pursuant to R.S.Mo. § 508.010.

                                    COUNT   I —- NEGLIGENCE

       7.        Plaintiff incorporates Paragraph 1 through Paragraph 6 as though fully

stated herein.

       8.        The   unadjusted    door   to     the   Branson        Restaurant   was   a   dangerous

condition     of Defendant   Cracker    Barrel's     premises.     As    a result,   Defendant   Cracker

Barrel's premises were not reasonably safe. Prior to the door closing and injuring her

hand, Plaintiff Wilson was not aware of the dangerous condition.

       0.        Defendant Cracker Barrel has a duty to keep its entire premises, including

the entryway, safe and free from dangerous or hazardous conditions.

       10.       Defendant Cracker Barrel, its agents, servants, and employees knew, or by

using ordinary care could have known, of the dangerous and hazardous condition of the

unadjusted door.

       11.       As a direct and proximate result of Defendant Cracker Barrel's negligence,

Plaintiff Cynthia Wilson was suffered injuries and was damaged, including injury to her

left hand. She has suffered pain in the past, and will continue to do so in the future.

                                                     2

            Case 6:22-cv-03151-LMC Document 1-1 Filed 06/08/22 Page 2 of 5
                                                                                                          Nd ¥S:70 - 2202 ‘80 Yoel - Asue] - paji4 Ajjesiuonos|3
        12.      As a direct and proximate result of Defendant Cracker Barrel's negligence,

Plaintiff Cynthia Wilson has sustained,              and in the future will sustain, damages        for

medical bills and costs relating to medical treatment for her injuries.

        13.      As a result of the negligence of Defendant’s agent or employee, Plaintiff

has sustained, and will in the future sustain, damages for medical bills and costs relating

to treatment for her injuries.

        WHEREFORE             Plaintiff Cynthia Wilson prays for a judgment against Defendant

Cracker Barrel for all her damages in an amount determined by the jury greater than the

jurisdictional minimum of this court, and for any further just and proper relief.

                               COUNT       II — RES IPSA LOQUITUR

        14.      Plaintiff incorporates Paragraph 1 through Paragraph 6 as though fully

stated herein.

        15.      Defendant Cracker Barrel's unadjusted door was in the sole and exclusive

possession and control of Cracker Barrel.

        16.      A restaurant door does not ordinarily close with force sufficient to cause

injury in the absence of negligence.

        17.      At   all   relevant    times,   Defendant     Cracker    Barrel   possessed   superior

knowledge     or means       of information      as to the cause of the occurrence         resulting in

Plaintiff’s injury.

        18.      As   a direct    and    proximate    result   of the    Defendant’s   negligence   and

carelessness, Plaintiff suffered injuries and was damaged, including injuries to her left

hand. Plaintiff has suffered pain in the past and will do so in the future.




          Case 6:22-cv-03151-LMC Document 1-1 Filed 06/08/22 Page 3 of 5
                                                                                                      Nd ¥S:70 - 2202 ‘80 Yoel - Asue] - paji4 Ajjesiuonos|3
        19.      As   a direct   and   proximate   result   of the   Defendant’s   negligence   and

carelessness, Plaintiff has sustained, and will in the future sustain, damages for medical

bills and costs relating to treatment for her injuries.

        WHEREFORE           Plaintiff Cynthia Wilson prays for a judgment against Defendant

Cracker Barrel for all her damages in an amount determined by the jury greater than the

jurisdictional minimum of this court, and for any further just and proper relief.

                            COUNT      III — NEGLIGENCE PER SE

        20.      Plaintiff incorporates Paragraph      1 through Paragraph 6 as though fully

stated herein.

        21.      Cracker Barrel's failure to adjust the door violates the Americans with

Disabilities Act because under ADA standards, a door with a closer must be adjusted “so

that from an open position of 70 degrees, the door will take at least 3 seconds to move to

a point 3 in (75 mm)       from the latch, measured to the leading edge of the door.” ADA

2010 Standards § 4.13.10.

        22.      Plaintiff Cynthia Wilson is a member of the class of persons intended to be

protected by the ADA because she has a substantially limiting physical impairment and

must use a motorized wheelchair.

        23.      The ADA door adjustment requirement is intended to prevent the kind of

injury Plaintiff Cynthia Wilson suffered because it is intended to prevent doors from

closing too quickly and causing injury, such as the injury that occurred to Ms. Wilson’s

hand.

        24.      The ADA violation is the direct and proximate cause of Plaintiff's injuries

because without Cracker Barrel’s failure to adjust its door, it would not have swung shut

quickly and injured Ms. Wilson’s hand.



          Case 6:22-cv-03151-LMC Document 1-1 Filed 06/08/22 Page 4 of 5
                                                                                               Nd ¥S:70 - 2202 ‘80 Yoel - Asue] - paji4 Ajjesiuonos|3
       25.    Cracker Barrel's ADA violation constitutes negligence per se.

       26.    As   a direct   and   proximate   result of Defendant   Cracker   Barrel's ADA

violation, Plaintiff Cynthia Wilson was injured, has suffered pain in the past and will

continue to do so in the future.

       27.    As   a direct   and   proximate   result of Defendant   Cracker   Barrel's ADA

violation, Plaintiff Cynthia Wilson has sustained, and in the future will sustain, damages

for medical bills and costs relating to medical treatment for her injuries.

       WHEREFORE          Plaintiff Cynthia Wilson prays for a judgment against Defendant

Cracker Barrel for all her damages in an amount determined by the jury greater than the

jurisdictional minimum of this court, and for any further just and proper relief.




                                                          Respectfully submitted,

                                                          BURGER LAW




                                                          Gary K. Burger, Jr. #43478
                                                          500 N. Broadway, Suite 1860
                                                          St. Louis, MO 63101
                                                          Phone: (314) 542-2222
                                                          gary@bu  rgerlaw.com
                                                          gary(@burgerlaw.com
                                                          Attorney for Plaintiff




         Case 6:22-cv-03151-LMC Document 1-1 Filed 06/08/22 Page 5 of 5
